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                  IN THE UNITED STATES DISTRICT COURT       MAR 2; 'C;2
                      FOR THE DISTRICT OF MONTANA
                                                    BY.PATRICK E. au', ..,
                           MISSOULA DIVISION
                                                                   DEPUTY CLFR.-­



UNITED STATES OF AMERICA,
                                             CR 11-62-M-DWM
                         Plaintiff,

            vs.                              FINDINGS & RECOMMENDAnON
                                             CONCERNING PLEA
TREY RAY SCALES,

                         Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

II and has entered a plea of guilty to one count of conspiracy to manufacture

marijuana in violation of21 U.S.c. §§ 841{a){l) and 846 as set forth in Count I of

the Indictment. Defendant has also agreed to the forfeiture allegations advanced

under 21 U.S.C. §§ 853{P) and 881 (a)(6). In exchange for Defendant's plea, the

United States has agreed to dismiss Count II of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      I. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature ofthe charge against him and

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consequences ofpJeading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pJeading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision ofthe agreement and that all ofthe statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Count II

of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 21 st day of March, 2012.




                                             iab C. Lynch
                                          lted States Magistrate Judge

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